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From:             Barber, Mike L - Plano, TX
To:                Plant Mgr - Chesapeake; Plant Mgr - Coastal Southest; Plant Mgr - Lakeshores; Plant Mgr - Mid-Atlantic;
                   Plant Mgr - Mid-South; Plant Mgr - Midwest; Plant Mgr - New England; Plant Mgr - New York Metro; Plant
                  Mgr - Pacific Northwest; Plant Mgr - Southern California; Plant Mgr - Southwest; Plant Mgr - Westshore;
                   Proc Division Directors - East; Proc Division Directors - West; Munoz, Larry P - San Diego, CA; Coleman, Dane
                  A - Windsor, CT; MIPS
Cc:                                                     ; Williams Jr, David E - Washington, DC
Subject:          Reminder: Sweeps
Date:             Tuesday, November 03, 2020 7:37:47 PM




Managers

We’re in the final stretch - as we’ve discussed, please make sure you are continuing to do regular
sweeps to ensure all ballots can be timely delivered in accordance with the state’s Election Day
ballot deadline today.

If there are any questions on a state’s deadlines or other requirements, contact the Law Department
for clarification:         ,             @usps.gov, and              ,                @usps.gov.

All plants must ensure that we provide a final clean sweep for all Election Mail Ballots for deliveries
today in all states for which you provide service.

Consistent with that mandate, mail-in ballots must be swept throughout the night until the final
dispatch to your local BOE. Ensure ballots are pulled from all mail processing and manual
operations, to include pieces provided directly by Retail offices, for all Board of Elections within your
service area.
